                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 at CHATTANOOGA

 REGINA HICKMAN,                              )
                                              )
        Plaintiff,                            )
                                              )          Case No. 1:10-cv-294
 v.                                           )
                                              )          Judge Mattice
 NCO FINANCIAL SYSTEMS, INC.,                 )
                                              )
        Defendant.                            )

                                          ORDER

        Presently before the Court is Plaintiff’s Motion for Continuance to Extend Time to

 Serve Defendant [Court Doc. 3], filed on March 31, 3011. This motion responds to the

 Court’s March 2, 2011 Order directing Plaintiff to show good cause as to why she failed to

 serve Defendant within 120 days of filing the Complaint, as required by Federal Rule of

 Civil Procedure 4(m). Plaintiff offers, as good cause, only that “the Notice of Lawsuit and

 Waiver of Service has not been served upon the Defendant due to error on the part of

 Senior Litigation Paralegal, Belinda R. Davis.”

        Plaintiff is ORDERED to file on or before May 20, 2011, either an affidavit proving

 service according to Fed. R. Civ. P. 4(l) or a copy of the completed waiver of service in

 accordance with Fed. R. Civ. P. 4(d)(4). Plaintiff is again put ON NOTICE that if she does

 not timely file either of the enumerated documents, her complaint may be dismissed

 pursuant Fed. R. Civ. P. 4(m) or Fed. R. Civ. P. 41(b) for failure to prosecute her claim.

        SO ORDERED this 4th day of April, 2011.

                                                          /s/ Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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